USDC IN/ND case 3:12-cr-00091-RLM-CAN        document 252   filed 01/09/13   page 1 of 1


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )        CAUSE NO. 3:12-CR-91 RM
                                         )
 GUILLERMO PATLAN (05)                   )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on December 19, 2012.

 Accordingly, the court ADOPTS those findings and recommendations [docket #

 237], ACCEPTS defendant Guillermo Patlan’s plea of guilty, and FINDS the

 defendant guilty of Count 1 of the Indictment, in violation of 21 U.S.C. § 846 and

 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED:      January 9, 2013



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court
                                Northern District of Indiana
